
PER CURIAM.
Appellant challenges the trial court’s ruling, which permitted the State to have both first and last closing arguments, where Appellant did not present any testimony. It appears the trial court erroneously believed the recent enactment of section 918.19, Florida Statutes (2006), governed the order of closing arguments in juvenile cases. It does not.
Section 918.19, Florida Statutes applies only to the order of closing arguments in adult criminal cases. See id.; see also Fla. R.Crim. P. 3.381. In juvenile proceedings, a child offering no testimony other than his or her own, is entitled to concluding argument. See Fla. R. Juv. P. 8.110(d).
In this case, the arguments were made before the trial court sitting as the finder of fact. However, because the right to final closing argument is a vested procedural right, the error cannot be considered *310harmless. See Wike v. State, 648 So.2d 683, 686 (Fla.1994); Freeman v. State, 846 So.2d 552 (Fla. 4th DCA 2003). Consequently, Appellant’s adjudication of delinquency is REVERSED and the case REMANDED for additional proceedings.
BARFIELD, ALLEN, and HAWKES, JJ., concur.
